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US v. Anthony Bickerton
Government’s Sentencing Submission

EXHIBIT D
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40 Of (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

United States of America )
v. ) .
ANTHONY "TONY" BICKERTON )  CaseNo, [() - SOZ—-MBG
)
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 15, 2009 in the county of Norfolk _ inthe
- District of Massachusetts , the defendant(s) violated:
Cade Section Offense Description
Title 18, U.S.C. § 1001 Making materially false statements and representations to the FBI when

interviewed regarding a public corruption investigation.

This criminal complaint is based on these facts:
SEE Attached Affidavit of F.B.i. Special Agent David S. Bell which is incorporated herein by reference.

mn Continued on the attached sheet.

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\ Complainant s ignature
ow

David

Sworn to before me and signed in my presence.

Date: 1/11/2010 > 300m - Wino: D135
a 01/11/20 ON: 35c MM Pe
City and state: Boston, MA Marianne ml eed Judge

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AFFIDAVIT OF SPECIAL AGENT DAVID S. BELL

I, David S. Bell, being duly sworn, depose and state as follows:

1. Tam a Special Agent with the Federal Bureau of Investigation ("FBI"), an agency of
the United States Department of Justice. I have been employed as a FBI Special Agent for more
than six years. Iam currently assigned to the Public Corruption/Civil Rights Squad of the Boston
Division of the FBI. During this assignment, I have been involved in the investigation of public
corruption and civil rights offenses which are violations of federal statutes within the jurisdiction
of the FBI. As set forth below, I have personally participated in the investigation of ANTHONY
“TONY” BICKERTON (“BICKERTON”) , an individual who recently resigned from his
position as a detective with the Stoughton, MA police department.

2, This affidavit is submitted in support of a criminal complaint charging
BICKERTON with knowingly and willfully making material false statements and
representations to FBI agents when interviewed on July 15, 2009, regarding an ongoing public
corruption investigation. This affidavit summarizes a portion of an investigation into the
criminal activities of BICKERTON and other members of the Stoughton, MA police
department. Since this affidavit is being submitted for the limited purpose of establishing
probable cause to believe that BICKERTON violated Title 18, United States Code, Section
1001, I have not included each and every fact known to me concerning this investigation. The
facts set forth in this affidavit are based on my personal participation in this investigation and
from a review of information provided to me by individuals associated with this investigation. A

substantial portion of the evidence in this affidavit is based on consensual audio and video
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recordings.

BACKGROUND

3. In 1979, the Stoughton Police Department (“SPD”) hired BICKERTON as a
patrolman. BICKERTON worked as both a patrolman and a detective for the next thirty years
before abruptly resigning on September 11, 2009, after FBI investigators recovered evidence
from a number of BICKERTON ’s close associates. In 2008, a cooperating witness (“CW”)
approached the FBI and described his criminal relationship with BICKERTON that spanned
more than [0 years. CW has an extensive criminal record as a thief and drug offender and
regularly worked for BICKERTON as an SPD informant. CW stated that, over the course of
their relationship, CW has provided stoien merchandise to BICKERTON in the form of plasma
televisions and laptop computers among other items. At the time of the 2008 interview, CW
estimated that he had previously provided over $30,000 dollars worth of stolen electronics to
BICKERTON. CW further stated that he had previously provided stolen retail store gift cards
to BICKERTON. CW cultivated this relationship with BICKERTON because it was useful
and helpful to CW to know a corrupt police officer - it greatly facilitated CW’s criniinal
activities. Because of this corrupt relationship with BICKERTON, CW gained free access to
SPD headquarters and, on occasion, to law enforcement sensitive databases of the Criminal
Justice Information Systems, National Criminal Information Center (“NCIC”) and Registry of
Motor Vehicle “RMV”).

FACTS

4. On or about April 23, 2008, CW was instructed by the FBI to ask BICKERTON if he

would agree to protect a shipment of stolen plasma televisions while they were transferred from

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one vehicle to another. CW reported that BICKERTON agreed to the proposal and
BICKERTON indicated that he knew people who were interested in purchasing the stolen
televisions at a greatly reduced price. Based on this information, the FBI purchased four 40 inch,
flat screen, high definition Samsung televisions for CW to provide to BICKERTON under the
guise that the televisions were stolen.

5. Subsequently, CW supplied the four “stolen” televisions to three individuals at
BICKERTON’S express direction. At various times during recorded telephone calls,
BICKERTON told CW where to deliver the “stolen” televisions, when to deliver the
televisions, and to whom. For instance, in a series of recorded telephone calls beginning on April
25, 2008, BICKERTON arranged for CW to deliver two of the purportedly stolen televisions to
SPD Officer Lino Azul. In these conversations, BICKERTON expressed his preference for LG
brand televisions, told CW the time and place to deliver the two televisions, instructed CW to
keep a third television for BICKERTON’s daughter, and told CW what to say in case CW got
stopped by a police officer. On April 28, 2008, pursuant to BICKERTON’S instructions, CW
‘delivered two of the televisions, in their original boxes, to SPD Officer Lino Azul at the
Portuguese Club located at 845 Washington Street, Stoughton, MA in exchange for $1,025.00 in

cash, which was approximately half of the retail price. This transaction was video recorded.
Lino Azul has recently resigned from the SPD and he has admitted to investigators that he

suspected these televisions were stolen and that he obtained them with the assistance of
BICKERTON.

6. Ina series of telephone calls beginning on May 1, 2008, CW attempted to make
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arrangements to deliver the third purportedly stolen television directly to BICKERTON. After
BICKERTON turned down a number of meeting spots suggested by CW, BICKERTON told
CW, “T just hate to pick it up in front of people I don’t know.” In another call, BICKERTON
asked CW to drive to Stoughton and drop off the television in the back of BICKERTON’s
pickup but CW was unable to do so. On May 2, 2008, BICKERTON told CW that he was
“stuck in court.” Accordingly, BICKERTON asked CW to deliver the third television to an
associate who resided in Stoughton, MA. Ina flurry of calls on May 2, 2008, BICKERTON
instructed CW where to deliver the television, how much he would pay CW, and where
BICKERTON would leave the cash payment for CW to pick up. On May 2, 2008, pursuant to
BICKERTON ’S instructions, CW delivered a Samsung 40” flat screen television to

BICKERTON’s associate in Stoughton, MA in exchange for $400.00 in cash. Subsequently,

during the course of this investigation, BICKERTON ’s associate has admitted to investigators

that he received this television from CW, whom he met through BICKERTON.

7. On May 8, 2008, after selling BICKERTON the third television, CW told
BICKERTON that he could get 3 to 5 more televisions. BICKERTON had the following .
recorded conversation with CW:

BICKERTON: Alright, um, let me know. Already got them sold.

CW: You've got 'em all sold if 1 get ‘em?

BICKERTON: Um, I think so, but I gotta, I gotta step out of this. I don't want people to
think I'm fuckin, fuckin doing stuff with stolen property, you know?

CW: I'll never say nothing to nobody and it stays between you and I, and you know I am

behind you, right?
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BICKERTON: Ya, but I can't have people on the other side know what I am doing so, I'll
sell them but I'll probably, I'll maybe put it through somebody else, you know what I am
saying?

CW: Oh ya, so that way they don't know, I hear ya, yup. No problem

8. On June 5, 2008, in a recorded telephone conversation, CW offered to sell
BICKERTON another television in exchange for a share of the drugs BICKERTON had seized
in a recent undercover drug operation. BICKERTON declined to purchase the television with
drugs, but directed CW to sell the television to SPD Detective Arlindo Romeiro (“Romeiro”). In
a subsequent telephone call on June 6, 2008, BICKERTON put Officer Romeiro on the
telephone to talk with CW about obtaining a television from CW. Romeiro has recently
resigned from the SPD and he is cooperating with federal authorities on this investigation.

9. Ina series of recorded telephone calls on July 16, 2008, BICKERTON made
arrangements with CW for the delivery of a pressure washer. BICKERTON specified his
preference for a gas powered, 2600 PSI pressure washer. Further, BICKERTON arranged for
CW to drop off the pressure washer in the bed of BICKERTON’S personal pickup truck which
was parked in the SPD parking lot. In a separate recorded telephone conversation, CW told
BICKERTON that he would go pick up the pressure washer, call BICKERTON, meet him at
the SPD station and BICKERTON could tell CW “if it was safe” and then CW would place the
washet in the back of BICKERTON’S truck. BICKERTON agreed. On July 17, 2008, while
being observed by FBI agents, CW did in fact place a gas powered, 2600 PSI pressure washer,

purchased by the FBI, into the bed of BICKERTON’S personal pickup truck in the parking lot

of the SPD.
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10. CW also informed the FBI that BICKERTON would run license plate information
through RMV databases for CW in exchange for retail store gift cards. Accordingly, the FBI
supplied CW with a list of license plates on August 13, 2008. On August 15, 2008, in a recorded
conversation, CW asked BICKERTON if he (CW) supplied BICKERTON with an envelope
containing four or five (license) plates “will you take care of it? I will pick it up from you
tomorrow.” BICKERTON agreed. In the same conversation BICKERTON asked CW to get
him a “used” laptop. CW had previously explained to FBI agents that BICKERTON utilized
the word “used” as a code word for “stolen,” BICKERTON directed CW to “just throw it in the
back of my truck.”

11. Ina recorded call on August 15, 2008, BICKERTON asked CW “what do you need
those (RMV printouts) for?” CW explained that he would send the information to a contact in
New York and “a few days later I’ll have a Chase or Discover (credit card) and a few days after
that I have, um, gift cards.” CW then explained that, using the name, social security number and
date of birth provided by BICKERTON, he (CW) could call up a credit card company and tell
them he was being deployed to Iraq and he needed a credit card sent to him and the credit card
company would overnight the credit card to him. Using this method, CW explained to
BICKERTON that he once received a credit card with a $50,000 credit limit. After listening to
CW?’s explanation of this identity fraud scheme, BICKERTON stated: “All right, Pil give you a
cali tomorrow.”

12. In recorded telephone conversations with BICKERTON on August 19, 2008, August
25, 2008 and August 262008, CW had further discussions with BICKERTON about obtaining

RMV information. On or about August 27, 2008, BICKERTON met CW at the SPD station. In

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an audio and video recorded conversation at the SPD station, BICKERTON explained to CW
that he ran the license plates CW provided through the RMV database, but “only one of the five
came back.” BICKERTON wrote down the name, date of birth and address associated with one
of the license plates and gave the slip of paper to CW at the SPD station. Subsequently, at the
request of the FBI, the administrators of the state RMV database conducted an audit of their
system to determine if the Massachusetts vehicle registrations provided to BICKERTON by
CW were queried by the Stoughton Police Department. In fact, the results of the audit
established that four Massachusetts vehicle registrations previously provided to BICKERTON
by CW (from the FBI) were queried at an RMY terminal located in the SPD station on August

26, 2008.

13. During this same time period in August of 2008, CW informed BICKERTON that he
had also offered former SPD Officer Lino Azul $1,000.00 worth of gift cards to run license plate
numbers through RMV databases. Azul, who is now cooperating with federal authorities,
declined CW’s offer and reported the incident to BICKERTON. According to Azul, instead of
expressing concern about this apparent bribe attempt, former SPD Detective BICKERTON
responded by telling former SPD Officer Azul that CW would pay $500 for running three license

plates.

14. On July 15, 2009, FBI agents interviewed BICKERTON about various matters
including his relationship with CW. When asked specifically if he had information about any
SPD officer receiving televisions from CW, BICKERTON falsely stated no. When asked
specifically if he had ever accepted building materials such as pressure washers from CW,

BICKERTON falsely stated no. When asked specifically if he knew or had any information

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about any SPD police officer who had accepted retail gift cards from CW, BICKERTON falsely
stated no. When asked specifically if he had information about any SPD officer receiving
anything of value from CW, BICKERTON falsely stated no, When asked specifically if he had
ever provided the results of RMV queries to CW, BICKERTON falsely stated “if you are asking
me if (CW) ever left the Stoughton Police Department with information for his personal use, the
answer is no.”

15. On September 1, 2009, FBI agents simultaneously went to the Portuguese Club located at
845 Washington Street, Stoughton, MA and the home of BICKERTON’s daughter and son-in-
law located in Plymouth, MA. While at the Portuguese Club, agents recovered two of the
“stolen” Samsung 40 inch flat screen televisions and, while at the Plymouth home, agents also
recovered another one of the “stolen” 40 inch Samsung flat screen televisions. On the same day
these televisions were recovered, BICKERTON asked SPD Detective Arlindo Romeiro to take
possession of the power washer BICKERTON had previously received from CW, Additionally,
on September 22, 2009, the FBI interviewed BICKERTON’s son-in-law in the presence of his
attorney and he admitted that he obtained the television for $500 through the efforts of his father-
in-law, BICKERTON.

16. On October 2, 2009, the FBI interviewed former SPD Officer Lino Azul in the presence
of his attorney, Azul admitted receiving televisions from CW at the Portuguese Club and stated
that “without a doubt” BICKERTON orchestrated CW’s delivery of the televisions. Azul also
stated that in addition to arranging for the purchase of televisions, BICKERTON twice atranged
for Azul to purchase $1000 retail store gift cards from CW at half price ($500). Moreover,

former SPD officer Lino Azul advised investigators that BICKERTON met with Azul after the
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FBI interviewed BICKERTON in August of 2009. BICKERTON admitted to Azul that he had
lied to the FBI during his interview. BICKERTON then urged Azul to also lie to the FBI if

Azul was ever questioned by the FBI.

AS

DAVID. BELL
Federal Bureau of investvation

Sworn and subscribed to before me at Boston, Massachusetts, this Lith day of January,
2010.

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UNITED STATES MAGISTRA ; FiyDGE

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